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9                               UNITED STATES DISTRICT COURT

10                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                   SAN FRANCISCO DIVISION

12
                                                   Case No. 3:22-cv-02920-LB
13    PURUSHOTHAMAN RAJARAM,
                                                   CLASS ACTION
14                          Plaintiff,
                                                   PLAINTIFF’S OPPOSITION TO
15               v.                                DEFENDANT META PLATFORMS,
16                                                 INC.’S MOTION TO DISMISS
      META PLATFORMS, INC.,
                                                   PLAINTIFF’S FIRST AMENDED
17                          Defendant.             COMPLAINT PURSUANT TO FED.
                                                   R. CIV. P. 12(b)(6) AND TO STRIKE
18                                                 PLAINTIFF’S FIRST AMENDED
                                                   COMPLAINT PURSUANT TO FED.
19
                                                   R. CIV. P. 12(f)
20
                                                   Hon. Laurel Beeler
21
                                                   Date: October 6, 2022
22                                                 Time: 9:30 a.m.
                                                   Location: Courtroom B
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1           PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS AND STRIKE
2             Defendant Meta Platforms, Inc. (“Meta”) moves to dismiss Plaintiff’s class action complaint,
3      which alleges that Meta engages in a pattern or practice of citizenship discrimination in hiring for certain
4      U.S. positions in violation of 42 U.S.C. § 1981. In the alternative, Meta moves to strike five paragraphs
5      from the First Amended Complaint pursuant to Rule 12(f) that it presumes were not independently
6      investigated or verified by Plaintiff or his counsel. But Meta’s motion to dismiss (Dkt. 25) should be
7      denied because Plaintiff’s Section 1981 citizenship claim is cognizable, as Section 1981 permits a United
8      States citizen to bring claims for citizenship or alienage discrimination, as district courts within the Ninth
9      Circuit have consistently held. In addition, Plaintiff plausibly alleges that in failing to hire him on four
10     or more occasions, Meta acted with discriminatory intent. And while not required because Plaintiff is
11     pursuing pattern or practice discrimination claims in this action (as opposed to an individual Section 1981
12     claim), Plaintiff has plausibly alleged “but for” causation. This Court should deny Meta’s motion to strike
13     under Rule 12(f) because Meta fails to demonstrate – or even argue – that the allegations at issue were
14     “redundant, immaterial, impertinent, or scandalous,” and under Rule 11 because Meta failed to follow
15     the procedural requirements of Rule 11 and because Plaintiff’s counsel independently investigated and
16     verified the allegations at issue in Plaintiff’s First Amended Complaint.

17                                             I.      BACKGROUND
18     A.     Meta’s Discriminatory Scheme.
19           Plaintiff Purushothaman Rajaram, a naturalized U.S. citizen, alleges that Meta engages in a pattern

20   or practice of citizenship discrimination in violation of 42 U.S.C. § 1981 by favoring visa holders for certain
21   U.S. positions. See 1st Am. Compl. (“FAC”) ¶¶ 2-3, 31, 40-44 (Dkt. 10). Plaintiff seeks to represent a class
22   of non-visa holders who applied for Software Engineer, Research Scientist, Data Scientist, Data Engineer,
23   Engineering Manager, and Product Lifestyle Management (“PLM”) roles with (or within) Meta in the
24   United States, but were denied employment by the company. Id. ¶ 31.
25           Meta (formerly known as Facebook) is an American social networking and technology company
26   that develops products for users to share content and to communicate with other users. Id. ¶ 6. Meta employs
27   approximately 60,000 employees worldwide and more than 35,000 employees domestically. Id. ¶ 1.
28           Like other U.S. companies, when looking to staff an open position in the U.S., Meta considers

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1    United States citizens, lawful permanent residents (green card holders), and foreign workers who require a
2    visa (typically an H-1B visa) to work in the U.S. Id. ¶ 2. H-1B visas are limited in number and intended
3    only to bring foreign workers to the U.S. to perform services in specialty occupations where there is a labor
4    shortage domestically. Id. ¶ 14. The U.S. government caps the number of H-1B visas it issues each year –
5    awarding just 65,000 H-1B visas annually in a highly competitive lottery process – and reserving an
6    additional 20,000 H-1B visas for individuals with advanced degrees.1 H-1B visa holders are not intended
7    to serve as “cheap” labor, as federal law requires H-1B visa holders to be paid by their employer at least as
8    much as other individuals with similar experience and qualifications for the specific employment in
9    question. Id. ¶ 14 (citing 20 C.F.R. § 655.731(a)).
10            While H-1B visa holders make up just a fraction of the U.S. workforce (around 580,000 of 157.53
11   million workers in 2019,2 or 0.37%), Meta prefers to hire and employ H-1B visa holders in the U.S.
12   because, in violation of U.S. visa laws, it can pay these employees less than their American counterparts –
13   a practice known as wage theft. FAC ¶¶ 2 & n.2, 13-14 (Dkt. 10). By engaging in wage theft, Meta is able
14   to save on payroll costs by hiring H-1B visa holders for certain positions in the U.S. Id. ¶ 14. Meta hires
15   H-1B visa holders both directly from the labor market using its own recruiters, and also through third party
16   vendors who provide it with H-1B visa holders. Id. ¶¶ 15-16. It staffs these individuals primarily in

17   Software Engineer roles, but also uses H-1B workers to fill Research Scientist, Data Scientist, Data
18   Engineer, Engineering Manager, and PLM roles with Meta. Id. ¶ 21. As Meta continues to grow, so does
19   its reliance on H-1B visa workers, which is evidenced by its steady increase in H-1B approvals for fresh

20   visas, visa amendments, and visa extensions:
21         Year       2013     2014      2015     2016      2017      2018      2019     2020      2022
           H-1B Visa 412       527       894      1,107     1,566     2,467     3,552    4,408     5,100
22         Approvals3
23
24     1
        See USCIS Reaches Fiscal Year 2022 H-1B Cap, U.S. CITIZENSHIP AND IMMIGRATION SERVICES (Feb.
       28, 2022), https://www.uscis.gov/newsroom/alerts/uscis-reaches-fiscal-year-2022-h-1b-cap.
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26      See FAC ¶ 2 n.2 (Dkt. 10); Employment in the United States from 2013 to 2023, STATISTA (last accessed
      Sept. 5, 2022), available at https://www.statista.com/statistics/269959/employment-in-the-united-states/
27     3
        See H-1B Employer Data Hub Files, U.S. CITIZENSHIP AND IMMIGRATION SERVICES (last accessed Mar.
28    30, 2022), available at http://bit.ly/2OpEyr2.

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1    Id. ¶ 15.
2            The same type of discrimination at issue here – unfair recruitment and hiring practices based on
3    citizenship—was the focus of a recent investigation of Meta undertaken by the Department of Justice
4    (“DOJ”) in 2018. FAC ¶ 17. The DOJ investigated Meta’s recruitment and hiring practices for over two
5    years, and, on October 9, 2020, it notified Meta that it had “‘found reasonable cause to believe that [Meta]
6    had engaged in a pattern or practice of unfair immigration-related employment practices violating 8
7    U.S.C. § 1324b(a)(1),’” which prohibits discrimination based on an individual’s citizenship status. Id.
8    (quoting the DOJ’s complaint). Following this finding, the DOJ filed a complaint against Meta on
9    December 3, 2020 which alleged, inter alia, that Meta intentionally discriminates against U.S. workers
10   based on their citizenship in its recruiting and hiring practices, and that Meta’s “standard operating
11   procedure” from at least January 1, 2018 to at least September 18, 2019 was to decline to hire U.S.
12   workers for certain PERM positions4 it had earmarked for visa workers and took active steps to deter
13   U.S. workers from applying to those positions. Id. Ultimately, the DOJ and Meta entered into a settlement
14   agreement in October 2021 which required Meta to pay $14.25 million – $4.75 million in civil penalties,
15   and $9.5 million to a settlement fund for potential victims of Meta’s citizenship discrimination. Id. ¶ 19.
16   B.      Meta’s Failure to Hire Plaintiff Based on His Citizenship Status.

17           Plaintiff is a highly skilled information technology professional who specializes in PLM and has
18   almost twenty years of relevant experience, working in both full-time employee and consultant roles. Id.
19   ¶ 22. Plaintiff holds a Bachelor of Engineering Degree from Madras University in Chennai and a Diploma

20   in Mechanical Engineering from the Directorate of Technical Education in Chennai. Id. He currently
21   resides in Pennsylvania. Id. ¶ 4.
22           Plaintiff is a victim of Meta’s systematic preference for visa holders for certain U.S. positions,
23   and was repeatedly rejected by Meta because of his status as a U.S. citizen. Id. ¶¶ 23, 30. From May 2020
24   forward, Plaintiff applied to more than four PLM roles with Meta, but each time, the company failed to
25   hire him on account of its discriminatory scheme. Id. ¶ 23. In May 2020, Plaintiff was contacted by
26   Infosys Limited, a third party vendor for Meta, regarding a PLM Architect position with Meta. Plaintiff
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        PERM positions are for temporary visa holders seeking permanent positions and lawful permanent
28   residency in the U.S. Id. ¶ 18.

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1    expressed interest in the role, and submitted a copy of his resume which listed his citizenship status
2    (Plaintiff’s citizenship status is also available on his LinkedIn page). Id. ¶ 24. Plaintiff performed well in
3    his interview with three Infosys employees, which took place on May 31, 2020, and was told by those
4    interviewers that he was the “right guy” and “perfect” for the role.” Id. ¶ 25. Plaintiff then interviewed
5    with Meta employee Rajesh Pralayakaveri, a junior employee of Meta whom Plaintiff believes to be
6    working for Meta in the U.S. on an H-1B visa. Id. ¶ 26. Despite performing well in the interview and
7    being well qualified for the PLM architect role, following his interview with Meta, Meta declined to hire
8    him.
9            In June 2020, Bob Omel, a PLM Analyst at Meta, referred Plaintiff for a full-time PLM Analyst
10   position with the company, and shared Plaintiff’s resume (listing his citizenship status) with Meta. Id. ¶
11   27. Plaintiff was then contacted by Khaled Mansour, a Technical Sourcer for Meta on June 23, and
12   interviewed with him for approximately 45 minutes to one hour. Id. During that time, Plaintiff shared his
13   PLM experience in detail, and received positive feedback from Mr. Mansour, who stated that Meta was
14   very interested in his candidacy, and that he would be presented to the team in charge of hiring for the
15   role. Id. However, despite Plaintiff’s qualifications and strong interview performance, he was informed
16   by Mr. Mansour on July 6 that the team had decided not to move forward with him. Id. On information

17   and belief, the PLM Analyst role was ultimately filled by an H-1B visa holder. Id.
18           On March 10, 2022 and March 22, 2022, Plaintiff applied to Application Manager, PLM positions
19   with Meta on its career website—positions he again was well qualified for given his considerable PLM

20   experience. Id. ¶ 28. As part of the application process, Plaintiff submitted a copy of his resume which
21   noted that he is a naturalized U.S. citizen. Id. Meta failed to contact, interview, or hire Plaintiff for both
22   roles, and no justification was provided by Meta for its failure to hire Plaintiff. Id.
23           Finally, over the past few years, Plaintiff has applied to a variety of PLM roles with Meta that
24   were located in Menlo Park, CA and Austin, TX. Id. ¶ 29. Again, despite his strong PLM qualifications
25   and experience in that field, Meta never contacted Plaintiff regarding his applications, and failed to hire
26   him for the PLM Manager, PLM Project Manager, and PLM Architect roles. Id. On each occasion,
27   Plaintiff was not hired by Meta because of his citizenship and the company’s preference for H-1B visa
28   holders. Id. ¶ 30.

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1                                        II.      LEGAL STANDARD
2           Federal Rule of Civil Procedure 12(b)(6) and 12(f) govern Defendant’s Motion to Dismiss and to
3    Strike. “[I]t is only under extraordinary circumstances that dismissal is proper under Rule 12(b)(6).”
4    Topadzhilkyan v. Glendale Police Dep’t, No. CV 10-387, 2010 WL 11459912, at *2 (C.D. Cal. Apr. 2,
5    2010). To survive a motion to dismiss, “a complaint must contain sufficient factual matter, accepted as
6    true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678
7    (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Specific facts are not necessary;
8    the statement need only ‘give the defendant fair notice of what the . . . claim is and the grounds upon which
9    it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Twombly, 550 U.S. at 545). When evaluating
10   Rule 12 motions that challenge the pleadings, “(1) the complaint is construed in the light most favorable to
11   the plaintiff, (2) its allegations are taken as true, and (3) all reasonable inferences that can be drawn from
12   the pleading are drawn in favor of the pleader.” 5B CHARLES A. WRIGHT ET AL., FEDERAL PRACTICE &
13   PROCEDURE § 1357 & n.11 (3d ed. 2007); Usher v. City of L.A., 828 F.2d 556, 561 (9th Cir. 1987) (“On a
14   motion to dismiss for failure to state a claim, the court must presume all factual allegations of the complaint
15   to be true and draw all reasonable inferences in favor of the nonmoving party.”). “Any existing ambiguities
16   must be resolved in favor of the pleadings.” Heldt v. Tata Consultancy Servs., Ltd., 132 F. Supp. 3d 1185,

17   1189 (N.D. Cal. 2015) (citing Walling v. Beverly Enters., 476 F.2d 393, 396 (9th Cir. 1973)).
18          Under Rule 12(f), a court may strike from a pleading only material that is “redundant, immaterial,
19   impertinent, or scandalous.” Fed. R. Civ. P. 12(f). “Motions to strike are generally disfavored and ‘should

20   not be granted unless the matter to be stricken clearly could have no possible bearing on the subject of the
21   litigation.’” Holmes v. Elec. Document Processing, Inc., 966 F. Supp. 2d 925, 930 (N.D. Cal. 2013)
22   (quotation omitted). “‘If there is any doubt whether the portion to be stricken might bear on an issue in the
23   litigation, the court should deny the motion.’” Id. (quotation omitted).
24                                             III.   ARGUMENT
25          Meta’s Motion to Dismiss pursuant to Rule 12(b)(6) and Motion to Strike pursuant to Rule 12(f)
26   should be denied in its entirety because: (A) Section 1981 permits citizenship claims brought by both U.S.
27   citizens and foreigners alike and thus, Plaintiff’s claim is cognizable under the statute; (B) Plaintiff’s
28   allegations support a plausible inference that Meta acted with discriminatory intent when it failed to hire

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1    him; (C) Plaintiff is not required to allege “but for” causation when pursuing pattern or practice claims, but
2    has pled such causation regardless; and (D) neither Rule 12(f) nor Rule 11 provides grounds for striking
3    the challenged allegations in Plaintiff’s complaint.
4      A.     Plaintiff’s Claim is Cognizable Under Section 1981.
5             Section 1981 applies to citizenship discrimination claims brought by U.S. citizens. See, e.g.,
6      Jimenez v. Servicios Agricolas Mex, Inc., 742 F. Supp. 2d 1078, 1086 (D. Ariz. 2010) (“Section 1981
7      prohibits [citizenship] discrimination against persons of all citizenships and not only non-Americans.”).
8      Section 1981 provides that: “All persons within the jurisdiction of the United States shall have the same
9      right . . . to make and enforce contracts . . . as is enjoyed by white citizens[.]” 42 U.S.C. § 1981(a)
10     (emphasis added). “‘The protection of [Section 1981] has been held to extend to aliens as well as to
11     citizens.’” Sagana v. Tenorio, 348 F.3d 731, 738 (9th Cir. 2004) (quoting Graham v. Richardson, 403
12     U.S. 365, 377 (1971)).
13            The only district courts within the Ninth Circuit to address the issue have held that U.S. citizens
14     can bring Section 1981 claims for citizenship discrimination. See Hernandez v. Siri & Son Farms, Inc.,
15     No. 6:20-CV-00669, 2021 WL 4999022 (D. Or. Sept. 30, 2021) (denying summary judgment on U.S.
16     citizen plaintiff’s Section 1981 citizenship discrimination claim), report & recommendation adopted,

17     2021 WL 4993475 (D. Or. Oct. 27, 2021); Murillo v. Servicios Agricolas Mex Inc., No. CV-07-2581,
18     2012 WL 1030084, at *11 (D. Ariz. Mar. 27, 2012) (“To prevail on their § 1981 claim, [p]laintiffs . . .
19     must demonstrate . . . that the Defendants intentionally discriminated against them because they are

20     United States citizens.”); Jimenez, 742 F. Supp. 2d at 1085-87 (“United States Citizens May Bring a
21     Section 1981 Claim for Discrimination on the Basis of Citizenship.”) (citing Thomas v. Rohner-Gehrig
22     & Co., 582 F. Supp. 669 (N.D. Ill. 1984); United States v. Richard Dattner Architects, 972 F. Supp. 738,
23     747-48 (S.D.N.Y.1997)). As the Jimenez court explained, “Section 1981’s plain text, as well as Supreme
24     Court and Ninth Circuit precedent hold that Section 1981 (1) protects ‘all persons’ against discrimination,
25     (2) applies to U.S. citizens, and (3) protects against so-called ‘reverse discrimination.’ Therefore, it does
26     not follow that Americans would be unprotected from this type of discrimination, where non-citizens
27     would be afforded this relief.” 742 F. Supp. 2d at 1087 (citing McDonald v. Santa Fe Trail Transp. Co.,
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1    427 U.S. 273 (1976); Takahashi v. Fish and Game Comm’n, 334 U.S. 410, 419 (1948); Sagana, 348 F.3d
2    at 738).
3            In McDonald, the Supreme Court held that Section 1981 applies to claims of reverse
4    discrimination. 427 U.S. 273. The McDonald Court rejected the argument that the phrase “as is enjoyed
5    by white citizens” limits itself to the protection of non-white persons against discrimination, in part
6    because “the statute explicitly applies to ‘All persons’, including white persons.” Id. at 286-88. The
7    Court observed that the phrase “as is enjoyed by white citizens” simply emphasizes the character of the
8    rights being protected. Id. (reversing lower courts’ dismissal of Section 1981 reverse discrimination
9    claims by white employees). This logic applies equally to reverse discrimination citizenship claims, as
10   “[a]ll persons” includes U.S. citizens. Jimenez, 742 F. Supp. 2d at 1086 (“As McDonald concluded that
11   the plain language of Section 1981 prohibits discrimination against persons of all races, and not only
12   non-whites, it is axiomatic that, Section 1981 prohibits discrimination against persons of all citizenships
13   and not only non-Americans.”).
14           As the McDonald Court found, Section 1981’s legislative history clarifies any ambiguity, as the
15   bill “was introduced by Senator Trumbull of Illinois as a ‘bill . . . to protect All persons in the United
16   States in their civil rights,’” and “appl[ies] to ‘every race and color.’” 427 U.S. at 287 (quoting Cong.

17   Globe, 39th Cong., 1st Sess., 211 (1866)). Senator Trumbull, the bill’s author, further explained, in
18   rebutting an argument that the bill did not prohibit reverse discrimination, that the bill “‘applies to white
19   men as well as black men. It declares that all persons in the United States shall be entitled to the same

20   civil rights,’” and that the “‘object of [the bill] is to secure equal rights to all the citizens of the country.’”
21   Id. at 290 (quoting Cong. Globe at 599). The McDonald Court also quoted legislative history that the
22   bill “‘regards all men in their civil rights as equal before the law’” and would “‘protect every citizen.’”
23   Id. at 295 (quoting Cong. Globe at 1833). Thus, prohibiting citizenship claims by Americans would be
24   inconsistent with the legislative history that the bill intended that all persons be treated equally, that
25   reverse discrimination be prohibited, and that every citizen be protected. Id. at 290, 295.
26           Meta relies on a discussion of legislative history cited in Anderson v. Conboy, see MTD at 9,
27   reflecting that Section 1981 was intended to protect “Chinese aliens” from discrimination. 156 F.3d 167,
28   173-74 (2d Cir. 1998) (“The immediate purpose of Section 16 was to alleviate the plight of Chinese

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1    immigrants . . . .”). But the immediate purpose of the bill is distinct from the broad language and scope
2    of the bill. In McDonald, for example, the Court held that Section 1981 applied to all races, not just
3    African-Americans, the protection of whom was the immediate purpose of the racial protections in the
4    bill. 427 U.S. at 289 (distinguishing “immediate impetus for the bill” of protecting African-Americans
5    from the “scope of the bill” and its “broad language”).
6           Moreover, interpreting Section 1981 to allow citizenship discrimination claims by aliens but not
7    U.S. citizens would be inconsistent with the principle of equality before the law, and would allow
8    displacement of and unfair treatment of American workers, and growing resentment against aliens. See
9    K. Geisler, Fissures in the Valley: Searching for a Remedy for U.S. Tech Workers Indirectly Displaced
10   by H-1B Visa Outsourcing Firms, 95 Wash. U. L. Rev. 465, 467 & n.17, 482, 498-99 (2017) (discussing
11   “unfair displacement of U.S. workers” by H-1B visa workers who have been exploited and underpaid,
12   and advocating for the application of Section 1981 to prevent citizenship discrimination against U.S.
13   citizens in favor of H-1B visa workers); Naomi Schoenbaum, The Case for Symmetry in
14   Antidiscrimination Law, 2017 WIS. L. REV. 69, 71-75 (2017) (explaining the value of prohibiting both
15   discrimination and reverse discrimination alike).
16          Meta argues that Section 1981 only prohibits “alienage” discrimination, and does not extend to

17   citizenship discrimination against U.S. citizens. MTD at 6-7. But as the Jimenez court found, “[t]he cases
18   cited by Defendants are unpersuasive, because like Defendants they base their analysis on the word
19   ‘alienage’ which is nowhere in the statute,” unlike “citizens.” 742 F. Supp. 2d at 1086 (distinguishing,

20   e.g., Chaiffetz v. Robertson Research Holding, Ltd., 798 F.2d 731, 735 (5th Cir. 1986)). In Chaiffetz,
21   which is cited by Meta, the plaintiff sought to assert a claim of reverse discrimination “on the basis of
22   alienage.” 798 F.2d at 735. The court found that discrimination against Americans “can never be
23   discrimination based on alienage,” but the court never considered whether Section 1981 applies to
24   discrimination based on citizenship. Id.
25          In making its Section 1981 alienage argument, Meta relies exclusively on out-of-circuit cases,
26   which are not controlling. See, e.g., Meyenhofer v. Larsen & Toubro Infotech Ltd., 503 F. Supp. 3d 39,
27   49-50 (S.D.N.Y. 2020) (declining to rely on “out of Circuit decision” on applicability of Section 1981 to
28   citizenship claims of U.S. citizens). Further, the cases cited by Meta are not on point, or are otherwise

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1    unpersuasive. Meta cites Jatoi v. Hurst-Euless-Bedford Hospital Authority, in which the plaintiff asserted
2    a Section 1981 “alienage” claim where he “consider[ed] himself an East Indian.” 807 F.2d 1214, 1217,
3    1219 (5th Cir. 1987). The court dismissed the alienage claim “because [plaintiff] is a [naturalized] United
4    States citizen,” inconsistent with his alienage claim as an East Indian. Id. Meta also relies on Tomason v.
5    Stanley, in which the plaintiff “plead only national origin discrimination,” made only “a conclusory
6    allegation [of alienage discrimination] that the Court cannot consider in deciding a motion to dismiss,”
7    and in which the court relied in dicta regarding the alienage claim exclusively on Chaiffetz, which, as
8    discussed above, only addressed alienage and not citizenship discrimination. No. 6:13-CV-42, 2013 WL
9    5652040, at *3-4 (S.D. Ga. Oct. 16, 2013). Finally, in Maack v. Wyckoff Heights Medical Center, the
10   court found: “Plaintiff has not properly alleged [an alienage] claim” where the complaint lacked factual
11   support for the claim; plaintiff was a naturalized U.S. citizen alleging that natural born U.S. citizens
12   received preferential treatment over naturalized citizens; and the plaintiff had failed to cite any precedent
13   “in this [Second] Circuit” for allowing a Section 1981 citizenship claim where the claim related not to
14   citizenship status but to whether natural born citizens were favored over naturalized citizens. No. 15 CIV.
15   3951 ER, 2016 WL 3509338, at *14-16 (S.D.N.Y. June 21, 2016) (dismissing Section 1981 claim
16   “without prejudice”).

17          Meta also argues that Plaintiff’s citizenship discrimination claim “amounts to nothing more than
18   alleged national origin discrimination.” MTD at 8. But even if there may be some overlap between
19   citizenship and national origin claims, citizenship claims are clearly permitted under Section 1981.

20   Sagana, 348 F.3d at 738; Jimenez, 742 F. Supp. 2d at 1087. Moreover, Plaintiff’s citizenship
21   discrimination claim is distinct from a national origin claim, as he alleges that Meta favored non-citizen
22   visa workers, e.g., Indian H-1B visa workers, over workers of, e.g., Indian national origin who were U.S.
23   citizens, such that membership in the favored class is dependent on citizenship, not national origin. See
24   FAC ¶ 31 (Dkt. 10) (defining class membership based on visa status, not national origin); Hernandez,
25   2021 WL 4999022, at *7 (“The fact that status as a ‘U.S. citizen’ can be invoked for both a U.S. citizen
26   who claims [Section 1981] discrimination based on citizenship status and a U.S. citizen who claims
27   discrimination based on national origin does not automatically convert the former into a national origin
28   claim.”)

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1     B.      Plaintiff’s Allegations Create a Plausible Inference of Discriminatory Intent.
2           Meta argues that Plaintiff’s Section 1981 claim fails because Plaintiff purportedly “alleges no facts

3     supporting a plausible inference that Meta acted with discriminatory motivation.” MTD at 9. But Plaintiff

4     alleges a number of facts that would support an inference of intentional discrimination, including: (1)

5     that Meta engages in a pattern or practice of discriminating against individuals who are not visa holders

6     in its hiring and staffing decisions; (2) that Meta prefers to hire visa holders because they’re less

7     expensive and it can pay them less than U.S. citizens such as Plaintiff; (3) that Meta’s U.S. workforce is

8     comprised of 15% or more H-1B visa holders, while H-1B workers make up just a fraction of the U.S.

9     workforce; (4) that Meta’s H-1B visa dependency has continued to increase during the class period; (5)

10    that the DOJ found reasonable cause to believe Meta engaged in a pattern or practice of similar,

11    citizenship-based discrimination in its PERM hiring; (6) that Meta knew Plaintiff was a naturalized U.S.

12    citizen; (7) that despite being well qualified for the PLM-roles he applied to with Meta, and receiving

13    positive interview feedback, Plaintiff was denied employment on more than four occasions by Meta; and

14    (8) that Plaintiff “would have been hired absent Facebook’s systematic preference for visa holders in

15    hiring for certain U.S. positions.” FAC ¶¶ 2-3, 13-15, 17-30, 42 (Dkt. 10).5

16          “[D]iscriminatory intent may be inferred upon . . . a showing” of a “‘systemwide pattern or practice’

17   of discrimination such that the discrimination is ‘the regular rather than the unusual practice.’” Brown v.

18   Nucor Corp., 785 F.3d 895, 914 (4th Cir. 2015) (quoting Int’l Bhd. of Teamsters v. United States, 431 U.S.

19   324, 336 (1977)); see also Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266 (1977))

20   (intentional discrimination is inferred when “a clear pattern, unexplainable on grounds other than race,

21   emerges”). Here, Plaintiff has alleged a pattern or practice of discrimination, which alone is sufficient to

22   satisfy the pleading requirement for discriminatory intent. Brown, 785 F.3d at 914. Specifically, Plaintiff

23   alleges a pattern or practice claim on behalf of himself and a class of non-visa holding applicants pursuant

24   to the Teamsters two-phase framework. FAC ¶¶ 3, 31, 40-44 (Dkt. 10). Under Teamsters, a rebuttable

25   inference of discrimination is adjudicated in Phase I and individual damages and defenses are reserved for

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      5
        Unlike the plaintiff in Bibi v. VxL Enters., LLC, 2021 WL 5998439, at *5 (N.D. Cal. Dec. 20, 2021)
27
      (cited by Meta), Plaintiff’s allegations go well beyond merely “alleg[ing] only that he applied for jobs
28    with defendant but was not hired.” MTD at 12.

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1    Phase II. 431 U.S. 360-62. In Phase I, Plaintiff has the burden to prove that “[citizenship] discrimination
2    was [Meta’s] standard operating procedure[,] the regular rather than the unusual practice.” Id. at 336, 361
3    n.46. If Plaintiff prevails in Phase I by establishing a pattern or practice of discrimination in hiring, the
4    defendant becomes a “proved wrongdoer,” and “an inference [attaches] that any particular employment
5    decision, during the period in which the discriminatory policy was in force, was made in pursuit of that
6    policy.” Id. at 359 n.45, 362. In Phase II, Plaintiff and each class member “need only show that [they] . . .
7    unsuccessfully applied for a job and therefore was a potential victim of the proved discrimination.” Id. at
8    362. The burden then shifts to the defendant employer “to demonstrate that the individual applicant was
9    denied an employment opportunity for lawful reasons.” Id.
10           Because the pleading requirements mirror the specific elements that Plaintiff will ultimately have
11   the burden to prove at trial,6 Plaintiff need not allege purposeful discrimination by Meta separate from the
12   allegation “that the discrimination was the ‘Company’s standard operating procedure[,] the regular rather
13   than the unusual practice’” and that he applied to, and was denied a role with Meta. EEOC v. Gen. Tel. Co.
14   of Nw., Inc., 599 F.2d 322, 332 (9th Cir. 1979) (quoting Teamsters, 431 U.S. at 336); see also Richardson
15   v. City of N.Y., No. 17-CV-9447, 2018 WL 4682224, at *5 (S.D.N.Y. Sept. 28, 2018) (“To assert
16   a pattern or practice that violates Section 1981, a plaintiff must plausibly allege that intentional ‘racial

17   discrimination was the [defendant’s] standard operating procedure[,] the regular rather than the unusual
18   practice, and that the discrimination was directed at a class of victims.’” (quotation omitted)). Here, Plaintiff
19   has sufficiently alleged that Meta engaged in a pattern and practice of intentional citizenship discrimination

20   against non-visa holders who applied to certain positions with or within Meta. See FAC ¶¶ 2-3, 13-21, 42.
21   (Dkt. 10). Plaintiff has also alleged that he suffered an adverse employment action (i.e., he was not hired
22   on more than four occasions) due to Meta’s pattern and practice of discrimination. Id. ¶¶ 23-30. Accepting
23   Plaintiff’s allegations as true, and construing them in the light most favorable to Plaintiff, Plaintiff has
24   established the elements necessary to prevail at both the Phase I and Phase II Teamsters trial. Teamsters,
25   431 U.S. at 362.
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       6
         See Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S.Ct. 1009, 1014 (2020) (“to
27
       determine what the plaintiff must plausibly allege at the outset of a lawsuit, we usually ask what the
28     plaintiff must prove in the trial at its end”).

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1          The allegation of statistical disparities in the Amended Complaint also satisfies the pleading
2    requirement for discriminatory intent. FAC ¶ 15 (Dkt. 10). While Meta acknowledges that Plaintiff’s
3    complaint relies partly on statistical evidence – that Meta’s U.S. workforce is comprised of at least 15%
4    H-1B visa workers, in contrast to well under 1% of the U.S. labor market7 – Meta argues that statistics
5    alone cannot create an inference of discriminatory intent and “say nothing” about any discriminatory
6    intent towards Plaintiff. MTD at 11. But as the Ninth Circuit has repeatedly held, statistics can be used
7    as evidence of discriminatory motive and intent in both individual and pattern or practice cases. See
8    Obrey v. Johnson, 400 F.3d 691, 694, 698 (9th Cir. 2005) (pattern or practice evidence, including
9    statistical data and anecdotal evidence of past discrimination, relevant in individual case to create an
10   inference of discriminatory motive); Diaz v. Am. Tel. & Tel., 752 F.2d 1356, 1363 (9th Cir. 1985)
11   (allowing individual to use statistical information to support discrimination claim because the purpose of
12   such information is “to provide otherwise unavailable indications of an employer’s conscious or
13   unconscious motives”); Martinez v. Oakland Scavenger Co., 680 F. Supp. 1377, 1394 (N.D. Cal. 1987)
14   (“In a class pattern or practice claim . . . [t]he requisite discriminatory intent may be shown by statistical
15   . . . evidence.”).
16         In fact, statistical evidence alone can be sufficient to establish a prima facie case of a pattern or

17   practice of intentional discrimination. Slaight v. Tata Consultancy Servs., Ltd., 842 F. App’x 66, 68 (9th
18   Cir. 2021) (“It would have been error for [jury] instructions to state that statistics alone could not be
19   sufficient to satisfy the plaintiffs’ burden as to intentional discrimination.”); Hazelwood Sch. Dist. v.

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     7
21      Id. ¶ 2 n.2 (“As of September 2019, there were approximately 583,420 H-1B visa holders in the United
     States.”); Id. ¶ 15; Employment in the United States from 2013 to 2023, STATISTA (last accessed Sept.
22   5, 2022), available at https://www.statista.com/statistics/269959/employment-in-the-united-states/
     (reporting total employment in the U.S. of 157.53 million in 2019); Daniel Costa & Jennifer Rosenbaum,
23   Temporary        foreign    workers   by     the   numbers       (Mar.    17,    2017),      available     at
24   https://www.epi.org/publication/temporary-foreign-workers-by-the-numbers-new-estimates-by-visa-
     classification/ (finding that nonimmigrant visa workers constitute “approximately . . . 1 percent of the U.S.
25   labor force,” with H-1B visa workers comprising approximately one-third of nonimmigrant visa workers).
     While the specific number of H-1B visa workers as a percentage of the U.S. workforce is not made explicit
26   in the FAC, the FAC cites the total number of H-1B visa holders in the United States, FAC ¶ 2 n.2 (Dkt.
     10), from which the percentage can be derived. Moreover, “[s]pecific facts are not necessary,” and the
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     FAC “give[s] the defendant fair notice” that the claim rests partly on statistical evidence. Erickson, 551
28   U.S. at 94.

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1      United States, 433 U.S. 299, 307-08 (1977) (“[w]here gross statistical disparities can be shown, they
2      alone may in a proper case constitute prima facie proof of a pattern or practice of [intentional]
3      discrimination.”) (citing Teamsters, 431 U.S. at 339); Beck v. Boeing Co., 60 F. App’x 38, 39 (9th Cir.
4      2003) (holding that proof of prima facie case of employment discrimination “may be done through
5      statistics alone”).8 Moreover, “summary judgment is patently inappropriate when a plaintiff needs
6      statistical data to substantiate the inference of discrimination and has been denied the opportunity to
7      discover this data.” Diaz, 752 F.2d at 1362-63. Here, Plaintiff plausibly alleges a statistical disparity, and
8      this statistical disparity alone satisfies Plaintiff’s pleading requirement. Hazelwood, 433 U.S. at 307-08;
9      Slaight, 842 F. App’x at 68; Diaz, 752 F.2d at 1362-63.
10           Ignoring that Plaintiff properly plead intent through his pattern or practice allegations and his
11   allegations of statistical disparities, Meta argues that Plaintiff must specifically allege an “intent to
12   discriminate” based on citizenship including, for example, that other similarly situated visa holders were
13   treated more favorably than him and that less qualified visa holders were ultimately hired for the positions
14   to which he applied. MTD at 10-13. But those are only elements of a prima facie case for individual claims
15   of discrimination under the McDonnell Douglas framework, not class claims under the Teamsters
16   framework. See Hawn v. Executive Jet Mgmt., 615 F.3d 1151, 1158 (9th Cir. 2010) (noting “[t]he concept

17   of ‘similarly situated’ [applicants] may be relevant to both the first and third steps of the McDonnell
18   Douglas framework,” i.e., plaintiff’s “prima facie case and proof of pretext[,] . . . inquiries [that] constitute
19   distinct stages of the McDonnell Douglas burden-shifting analysis”). Here, Plaintiff would never have the

20   burden to prove these facts to obtain relief under the Teamsters pattern or practice framework because once
21   Plaintiff proves that Meta engaged in a general pattern or practice of discrimination in Phase I, he will only
22   need to prove that he “unsuccessfully applied for a job and therefore was a potential victim of the proved
23   discrimination” in Phase II. Teamsters, 431 U.S. at 362. Accordingly, Plaintiff need not allege that he was
24   treated less favorably than less qualified visa holders. See Swierkiewicz v. Sorema, N.A., 534 U.S. 506, 511-
25
       8
         Meta relies on Wal-Mart Stores, Inc. v. Dukes for its argument on the purported insufficiency of
26    statistical evidence, but there, statistical evidence was found insufficient to satisfy commonality on class
      certification, but only because the challenged policy was one of providing discretion to local supervisors
27    over employment decisions, which the court described as “a policy against having uniform employment
      practices.” 564 U.S. 338, 355 (2011); see also id. at 371 n.4 (“Teamsters, the Court acknowledges,
28    instructs that statistical evidence alone may suffice”) (Ginsburg, J., dissenting).

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1    12 (2002) (“It thus seems incongruous to require a plaintiff, in order to survive a motion to dismiss, to plead
2    more facts than he may ultimately need to prove to succeed on the merits.”).9
3           Plaintiff’s factual allegations supporting an inference of intentional discrimination also includes the
4      allegation that the DOJ “‘found reasonable cause to believe that [Meta] had engaged in a pattern or
5      practice of unfair immigration-related employment practices violating 8 U.S.C. § 1324b(a)(1),’ which
6      prohibits discrimination based on an individual’s citizenship status.” FAC ¶ 17 (Dkt. 10) (quoting DOJ’s
7      complaint). Meta disputes the relevance of the investigation and findings, making two flawed arguments.
8      MTD at 10. First, Meta argues that the DOJ’s investigation – which extended “to at least September 18,
9      2019,” predated Plaintiff’s applications to Meta, which began in May 2020. FAC ¶¶ 18, 24 (Dkt. 10)
10     (emphasis added). But Plaintiff alleges that Meta’s citizenship discrimination and dependency on visa
11     holders is continuous and ongoing, and would therefore have infected the company’s hiring practices
12     beyond the time frame specified in the DOJ’s complaint. Id. at 1 & ¶¶ 15, 42. Second, Meta argues that
13     the DOJ’s investigation of Meta’s citizenship discrimination is irrelevant here because it involved hiring
14     for PERM positions. But the DOJ’s investigation is relevant and probative as it targeted the same type of
15     discrimination at issue here (discrimination based on citizenship / visa status), and evidences the
16     company’s preference for visa holders.10 Cf. Berry v. Oswalt, 143 F.3d 1127, 1133 (8th Cir. 1998)

17     (“[E]vidence of prior acts of discrimination on the basis, for example, of [citizenship] should normally
18     be freely admitted in cases alleging [citizenship] discrimination in employment.”).
19

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       9
         Meta cites to Imagineering, Inc. v. Kiewit Pacific Co., but there the court recognized that allegations of
21    a scheme to evade minority set aside regulations in government contracting on the basis of race “normally
      may be adequate to state a claim under section 1981,” but failed because the “indirect nature of the injury
22    [made it] difficult for the court to ascertain what amount of damage suffered by the plaintiffs is attributable
      to just [defendant]’s conduct.” 976 F.2d 1303, 1312-13 (9th Cir. 1992).
23     10
          Even if Plaintiff brought only an individual Section 1981 claim (which he has not), pattern or practice
24    evidence such as the DOJ’s investigation would be relevant to his claim. See Obrey, 400 F.3d at 697-98
      (finding that district court abused discretion in excluding pattern or practice evidence that supported
25    individual plaintiff’s “pattern or practice theory” and noting pattern or practice evidence is relevant “to
      show that the defendant had a discriminatory motive when it denied his promotion because it had
26    unlawfully rejected other applicants in circumstances similar to his”); Karp v. CIGNA Healthcare, Inc.,
      882 F. Supp. 2d 199, 212 (D. Mass. 2012) (“[A]n individual plaintiff . . . is normally permitted to show
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      that her employer engaged in a widespread pattern or practice of gender discrimination and that she is a
28    victim of that discrimination.”).

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1         Accordingly, Plaintiff has adequately alleged facts supporting an inference of purposeful
2    discrimination.
3    C.     Plaintiff Is Not Required to Allege But For Causation When Bringing Pattern Or Practice
            Claims.
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            Meta claims that Plaintiff was required to allege “but-for” causation in his complaint, and failed
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     to do so. MTD at 12-13 (citing Comcast, 140 S. Ct. at 1009, 1013, 1018-19). But Comcast sets forth the
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     pleading standard for individual claims, and Plaintiff does not have the burden to prove but for causation
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     with respect to his pattern or practice claims in either Phase I or Phase II under Teamsters. See Teamsters,
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     431 U.S. at 360 n.46 (during Phase I, “the focus often will not be on individual hiring decisions, but on
9
     a pattern of discriminatory decisionmaking.”); Gavalik v. Cont’l Can Co., 812 F.2d 834, 863 (3d Cir.
10
     1987) (during Phase II, “the ‘but for’ burden of persuasion rests properly with the defendant”). On a
11
     motion to dismiss, Plaintiff is not required to plead “more facts than [he] may ultimately need to prove
12
     [at trial] to succeed on the merits,” and accordingly, Plaintiff was not required to allege but for causation
13
     here. Swierkiewicz, 534 U.S. at 511-12. The cases Meta cites in support of its position all involve
14
     individual Section 1981 claims where the plaintiff bears the burden of both alleging and proving “but
15
     for” causation, which is not the case here. Williams v. Carson Concrete Corp., No. 20-5569, No. 2021
16
     WL 1546455, at *4 (E.D. Pa. Apr. 20, 2021) (Section 1981 individual failure-to-hire claim); Moralez v.
17
     Whole Foods Mkt. Cal., Inc., No. 14-cv-05022-EMC, 2016 WL 845291, at * 1 (N.D. Cal. Mar. 4, 2016)
18
     (Section 1981 claim premised on individual’s “unpleasant confrontation with several employees” at a
19
     Whole Foods store).11
20
            Meta does not dispute that Plaintiff has sufficiently pled his pattern or practice claims, namely,
21
     by alleging that Meta engages in a pattern or practice of ongoing citizenship discrimination in its hiring
22
     and staffing decisions by favoring visa holders for certain positions in the U.S. and that Plaintiff suffered
23
     an adverse employment action (he was not hired) due to Meta’s pattern or practice of discrimination.
24
     FAC ¶¶ 2-3, 13-30 (Dkt. 10).
25
26   11
        While Williams v. Tech Mahindra (Americas.), Inc., No. 3:20-cv-04684, 2021 WL 302929, at *7
27   (D.N.J. Jan. 29, 2021) was a class action in which the Court found that the plaintiff failed to allege “but
     for” causation, that decision is currently on appeal to the Third Circuit.
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1           And while not required, Plaintiff has sufficiently pled “but for” causation and sufficiently alleged
2    that he was not hired because of his citizenship. For instance, Plaintiff describes Meta’s discriminatory
3    scheme in detail, the company’s rationale for favoring visa holders, and the DOJ’s investigation which
4    found reasonable cause to believe that Meta engaged in a pattern or practice of citizenship / immigration
5    discrimination in its PERM hiring. Id. Plaintiff also alleges that he was well qualified for the PLM roles
6    with Meta given his almost twenty years of experience in that field, and that despite receiving positive
7    feedback in his interviews, “[i]n each instance, [Meta] did not hire Mr. Rajaram because of his
8    citizenship.” Id. ¶¶ 22-23, 25, 30. These factual allegations, accepted as true and viewed in the light most
9    favorable to Plaintiff are sufficient to plead “but for” causation. See Parks v. Buffalo City Sch. Dist., No.
10   17-CV-631S, 2020 WL 2079320, at *9 (W.D.N.Y. Apr. 30, 2020) (where “[plaintiff] alleges various
11   examples of the allegedly widespread discriminatory practice, including the discrimination that she
12   allegedly suffered[,] [a]t this stage, these allegations are minimally sufficient to defeat [a] motion
13   to dismiss.”). These detailed allegations go well beyond those in Moralez where “Plaintiff plead[] no
14   facts that demonstrate any of the actions that occurred were related to racial discrimination,” 2016 WL
15   845291, at *2, and in Williams where the Court found Plaintiff’s allegations to be “boilerplate” and
16   “unsupported by specific facts,” 2021 WL 302929, at *7.

17   D.     Neither Rule 12(f) Nor Rule 11 Provides Grounds for Striking Plaintiff’s Allegations.

18          Meta moves the Court to strike paragraphs of Plaintiff’s First Amended Complaint that reference

19   the DOJ’s investigation, findings, complaint, and settlement with Meta, namely paragraphs 2, 13, 17, 18,

20   and 19. MTD at 14. Meta moves to strike these paragraphs in their entirety, id., even though portions of

21   these paragraphs are unrelated to the DOJ investigation. See, e.g., FAC ¶ 2 n.2 (citing statistical evidence

22   not cited in the DOJ Complaint).

23          Meta moves pursuant to Rule 12(f) (Caption, Notice of Motion (Dkt. #25)), which applies only if

24   material is “redundant, immaterial, impertinent, or scandalous.” Fed. R. Civ. P. 12(f). Plaintiff’s

25   allegations do not meet this standard, and Meta does not even attempt to argue otherwise. See MTD at

26   14-17; see also Holmes, 966 F. Supp. 2d at 930 (“Motions to strike are generally disfavored and ‘should

27   not be granted unless the matter to be stricken clearly could have no possible bearing on the subject of

28   the litigation.’” (quoting Platte Anchor Bolt, Inc. v. IHI, Inc., 352 F. Supp. 2d 1048, 1057 (N.D. Cal.

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1    2004))); Mancini v. Ins. Corp. of N.Y., No. 07-cv-1750, 2008 WL 11337258, at *2 (S.D. Cal. May 29,
2    2008) (denying motion to strike allegations regarding other actions involving the defendant from
3    complaint where the “allegations [we]re relevant to the issues of [a] pattern and practice,” and were “not
4    scandalous, impertinent, immaterial or redundant”).
5           Meta argues that Plaintiff’s complaint is “premised almost entirely on borrowed allegations” from
6    the DOJ Complaint and settlement with “no indication that Plaintiffs’ counsel conducted any independent
7    investigation.” MTD at 14 (emphasis added). But paragraphs 2, 17, 18, and 19 describe the DOJ’s two-
8    year investigation of Meta, finding of “‘reasonable cause to believe that Facebook had engaged in a
9    pattern or practice of unfair immigration-related employment practices,’” complaint, and $14.25 million
10   settlement. FAC ¶¶ 2, 17-19 (Dkt. 10) (quoting DOJ Complaint ¶ 10). These paragraphs do not “borrow[]
11   allegations,” but simply describe the DOJ proceedings. MTD at 14. Meta has not disputed the accuracy
12   of Plaintiff’s descriptions, or the sufficiency of Plaintiff’s investigation into those proceedings. MTD at
13   15 (“Paragraphs 2, 13, 17, 18, and 19 of the FAC simply recount the DOJ’s investigation, Complaint,
14   and Settlement, and cite to the same . . . .”); Low Decl. ¶ 7. Paragraph 2 discusses Meta’s preference for
15   hiring visa workers, cites statistical evidence independent of the DOJ investigation, and discusses the fact
16   that Meta can pay visa workers less than citizens (a fact Plaintiff’s counsel has extensively researched,

17   including in other litigation related to H-1B visas and work with an industry expert). Low Decl. ¶ 5.
18   Paragraph 2 also identifies the existence of the DOJ lawsuit and settlement related to Meta’s alleged
19   preference for visa workers. Paragraph 13 makes the uncontroversial allegation that “[h]iring employees

20   increases costs,” and further alleges that Meta prefers to hire visa workers for certain positions “[i]n order
21   to reduce costs.” FAC ¶ 13 (Dkt. 10). While Plaintiff cites the DOJ Complaint for the latter proposition,
22   it is also supported by, e.g., Plaintiff’s statistical evidence of Meta’s reliance on visa workers and
23   Plaintiff’s investigation into the industry practice of paying visa workers less than U.S. citizens. Id. ¶¶ 2,
24   15; Low Decl. ¶ 6. Thus, none of the challenged paragraphs involve “borrowed allegations” copied from
25   the DOJ complaint or settlement, Plaintiff’s claims do not lack independent support, and none are
26   “redundant, immaterial, impertinent, or scandalous.” Fed. R. Civ. P. 12(f).
27          Instead of arguing that the challenged paragraphs satisfy the standard of the applicable rule – Fed.
28   R. Civ. P. 12(f), Meta argues that the paragraphs should be stricken pursuant to Rule 11. MTD at 14-15,

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1    17. Striking a filing is one of the sanctions available pursuant to Rule 11. Fed. R. Civ. P. 11, advisory
2    cmte. note (1993 amendment) (“The court has available a variety of possible sanctions to impose for
3    violations, such as striking the offending paper; . . .”). A Rule 11 motion “must be made separately from
4    any other motion,” and “must be served under Rule 5, but it must not be filed or be presented to the court
5    . . . within 21 days after service.” Fed. R. Civ. P. 11(c)(2). Here, Meta argues that Plaintiff’s counsel
6    failed to conduct any independent investigation of their allegations in violation of Rule 11, but Meta has
7    failed to follow the procedural requirements of Rule 11, as Meta did not file a separate motion and never
8    served a Rule 11 motion on Plaintiff before filing its motion to strike. Low Decl. ¶ 4. In fact, Meta’s
9    counsel did not inquire of Plaintiff or his counsel whether they had undertaken any independent
10   investigation related to the allegations in the complaint before publicly accusing Plaintiff’s counsel of
11   Rule 11 misconduct. Id.; MTD at 14 (arguing only that there is “no indication” in the FAC of any
12   independent investigation). Because Meta failed to follow the mandatory procedural requirements of
13   Rule 11, its request for relief pursuant to Rule 11 should be denied. See Fed. R. Civ. P. 11(c)(2); Kalbers
14   v. U.S. Dep’t of Justice, No. CV 18-8439, 2020 WL 6204565, at *9 (C.D. Cal. Oct. 9, 2020) (“plaintiff's
15   Motion to Strike and for Sanctions can be denied on procedural grounds”) (citing Fed. R. Civ. P.
16   11(c)(2)), rev’d in part on other grounds, 22 F.4th 816 (9th Cir. 2021).

17          Even if the Court were to consider Meta’s Rule 11 argument on its merits, the argument fails.
18   Meta argues that Plaintiff violated Rule 11(b)(3) by failing to undertake an “inquiry reasonable under the
19   circumstances [that] the factual contentions have evidentiary support or, if specifically so identified, will

20   likely have evidentiary support after a reasonable opportunity for further investigation or discovery.”
21   Fed. R. Civ. P. 11(b)(3). Striking allegations under “‘Rule 11 is an extraordinary remedy, one to be
22   exercised with extreme caution.’” In re Keegan Mgmt. Co., Sec. Litig., 78 F.3d 431, 434-35 (9th Cir.
23   1996) (quoting Operating Eng'rs Pension Trust v. A–C Company, 859 F.2d 1336, 1345 (9th Cir. 1988));
24   Metlife Bank, N.A. v. Badostain, No. 1:10-cv-118, 2010 WL 5559693, at *7 (D. Idaho Dec. 30, 2010)
25   (“[T]he Ninth Circuit repeatedly has stated” that Rule 11 sanctions are only to be awarded “in rare and
26   exceptional cases.”). The “extraordinary remedy” of striking the challenged paragraphs for failing to
27   undertake a reasonable inquiry into their factual allegations should be denied for five reasons.
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1              First, most of the challenged material is an undisputedly accurate description of the DOJ
2    investigation, findings, complaint, and settlement. FAC ¶¶ 2, 17-19 (Dkt. 10). Plaintiff’s counsel
3    reviewed the published OCAHO decisions and other materials related to the DOJ proceedings (Low Decl.
4    ¶ 7),12 and Meta does not dispute that Plaintiff adequately investigated those proceedings. MTD at 15.
5    The remaining challenged materials – in paragraphs 2 and 13 – contain allegations supported by evidence
6    independent of the DOJ proceedings. Low Decl. ¶¶ 5-6.
7              Second, contrary to Meta’s argument that Plaintiff’s “only factual support” regarding Meta’s
8    pattern or practice of citizenship discrimination is the DOJ proceedings, Plaintiff’s counsel independently
9    investigated the claims by, for example, researching the PERM hiring claims at issue in the DOJ
10   proceedings, analyzing Meta’s PERM application figures from 2013 to 2020, discovering the strong
11   correlation of positions for which Meta files H-1B visa applications and PERM applications alike,
12   analyzing statistical evidence of Meta’s disproportionate reliance on H-1B visa workers, investigating
13   industry practices and Meta’s practices related to reliance on H-1B visa workers, investigating Meta’s
14   hiring practices including its use of third-party vendors, investigating the cost-savings rationale for
15   Meta’s reliance on H-1B visa holders, analyzing the positions for which Meta prefers to hire and staff H-
16   1B visa holders, investigating the jobs for which Meta most often seeks PERM hires, and analyzing

17   Plaintiff’s own experiences applying to Meta. See, e.g., FAC ¶¶ 1-2, 13-16, 20-30 (Dkt. 10); Low Decl.
18   ¶ 3. Accordingly, Plaintiff’s counsel’s conduct here differs drastically from that in Christian v. Mattel,
19   Inc. where counsel “fail[ed] to perform even minimal due diligence,” and filed a frivolous copyright

20   infringement claim alleging illogically that a prior-created work infringed a later-created one. 286 F.3d
21   1118, 1128, 1129 (9th Cir. 2002).
22             Third, Courts in the Ninth Circuit have repeatedly held that reliance on third party materials to
23   substantiate claims is permissible, so long as those materials are not “the only basis” for the allegations.
24   In re Connetics Corp. Secs. Litig,, 542 F. Supp. 2d 996, 1005 (N.D. Cal. 2008) (cited by Meta); In re
25   Cylink Secs. Litig., 178 F.Supp.2d 1077, 1083 (N.D. Cal. 2001) (“[T]hese allegations, especially when
26   combined with the other transactions detailed in the SEC complaint, provide strong circumstantial
27
     12
28        Available at https://www.justice.gov/eoir/listing-volume-14-decisions.

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1    evidence”); In re New Century, 588 F. Supp. 2d 1206, 1219-21 (C.D. Cal. 2008) (permitting allegations
2    drawn from a Bankruptcy Examiner’s Report because “the report only supplements the investigation,”
3    and “the allegations are derived from documentary evidence that qualifies as a reliable source”); Luxul
4    Tech. Inc. v. NectarLux, LLC, No. 14-CV-03656-LHK, 2015 WL 4692571, at *6 (N.D. Cal. Aug. 6,
5    2015) (“to the extent that Nectarlux supports its own investigation and knowledge of the Colvin matter
6    with the Colvin complaint, such reliance is appropriate as an attorney ‘may rely in part on other sources,
7    such as a newspaper article, [ ] as part of his or her investigation into the facts.’” (quoting In re
8    Connetics, 542 F. Supp. 2d at 1005)). Reliance on a complaint brought by a government enforcement
9    agency and a related settlement to provide context for a plaintiff’s claims are especially appropriate. Gray
10   v. Bayer Corp., No. 08-4716, 2010 WL 1375329, at *3 (D.N.J. Mar. 31, 2010) (“[T]he FTC is the type
11   of organization specifically tasked with investigating and prosecuting the very claims alleged by the
12   Plaintiff in this matter. Defendant cites to no binding legal authority for the proposition that a party may
13   not rely on relevant action taken by the FTC to provide proper context for its own claims . . . or that a
14   party’s decision to do so violates Rule 11(b).”). Here, Plaintiff’s citations to the DOJ investigation,
15   complaint, findings, and settlement for citizenship discrimination support Plaintiff’s pattern or practice
16   allegations and corroborate his experiences of being denied employment on at least four occasions by

17   Meta.
18           The two cases that Meta cites in support of its motion to strike are distinguishable because, unlike
19   here, (1) the allegations at issue were the only basis for the allegations in the complaints; (2) the plaintiffs

20   copied the allegations verbatim rather than describing the other proceedings and findings; and (3)
21   plaintiffs’ counsel did not independently investigate the allegations as Plaintiff’s counsel did here. See In
22   re Connetics, 542 F. Supp. 2d at 1005-06 (striking allegations copied verbatim from an SEC complaint
23   where plaintiffs did not conduct any independent investigation and did not inform the court of any other
24   sources of information on which they relied); Fraker v. Bayer Corp., No. CVF08-1564, 2009 WL
25   5865687, at *5-6 (E.D. Cal. Oct. 6, 2009) (striking portions of the complaint that were “lifted” directly
26   from documents from proceedings in other courts without any independent investigation of counsel).
27           Fourth, Meta argues that Rule 11 requires that that Plaintiff’s complaint only contain “validated
28   factual contentions.” MTD at 17. But Rule 11 only requires an “inquiry reasonable under the

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1    circumstances” that “the factual contentions have evidentiary support.” Fed. R. Civ. P. 11(b)(3). In
2    denying motions to strike, courts have regularly upheld the inclusion of information and allegations in
3    complaints that were not independently verified. See Sec. & Exch. Comm’n v. Strong Inv. Mgmt., No.
4    8:18-CV-00293, 2018 WL 8731559, at *5 (C.D. Cal. Aug. 9, 2018) (holding that “even if the Court found
5    that the SEC did not specifically verify the findings of Broker 1, as part of its investigation, these
6    allegations are nonetheless properly included because they ‘corroborate’ the rest”) (citation omitted); In
7    re Bear Stearns Mortg. Pass-Through Certificates Litig., 851 F. Supp. 2d 746, 768 n.24 (S.D.N.Y. 2012)
8    (rejecting argument “that any portion of a pleading that relies on unadjudicated allegations in another
9    complaint is immaterial under Rule 12(f)…Neither Circuit precedent nor logic supports such an absolute
10   rule”). And even where a plaintiff’s counsel has failed to conduct a reasonable inquiry into the allegations
11   (unlike here), the Ninth Circuit has held that striking said material under Rule 11 is only proper if the
12   filing is “both baseless and made without a reasonable and competent inquiry.” Luxul Tech. Inc., 2016
13   WL 3345464, at *4; GN Resound S/A v. Callpod, Inc., No. C 11-04673, 2013 WL 5443046, at *4 (N.D.
14   Cal. Sept. 30, 2013) (refusing to grant Rule 11 sanctions where “Defendant[] . . . ha[d] not clearly shown
15   that Plaintiff filed a ‘frivolous’ pleading, i.e., one that is legally or factually baseless from an objective
16   perspective and made without a reasonable and competent inquiry”). “[A]n attorney cannot ‘be

17   sanctioned for a complaint which is well-founded, solely because she failed to conduct a reasonable
18   inquiry.’” Luxul Tech. Inc., 2016 WL 3345464, at *4 (quoting In re Keegan, 78 F.3d at 434).
19          Finally, the Ninth Circuit has emphasized that Rule 11 “calls for an intensely fact-bound inquiry,

20   and for this kind of inquiry, ‘bright lines’ are not appropriate.” Townsend v. Holman Consulting Corp.,
21   929 F.2d 1358, 1364 (9th Cir. 1990). As such, courts have frequently taken discovery concerns and the
22   nature of the action into consideration when analyzing a Rule 11 motion to strike. Id. (“If the relevant
23   facts are in control of the opposing party, more leeway must be given to make allegations in the early
24   stages of litigation that may not be well-grounded”); In re Connetics Corp. Sec. Litig., No. 07-02940 SI,
25   2008 WL 3842938, at *4 (N.D. Cal. Aug. 14, 2008) (denying motions to strike where plaintiffs indicated
26   allegations are “based upon information and belief,” and that information underlying certain allegations
27   drawn from the SEC complaint would be impossible to acquire absent discovery); Smith v. Our Lady of
28   the Lake Hosp., Inc., 960 F.2d 439, 446-47 (5th Cir. 1992) (noting Rule 11 “must not bar the courthouse

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1    door to people who have some support for a complaint but need discovery to prove their case”); see also
2    In re Bear Stearns, 851 F. Supp. 2d at 768 n.24 (complaints replete with detailed factual information are
3    better for borrowing than others). Here, establishing the extent of Meta’s discriminatory scheme requires
4    discovery since relevant facts are largely in Meta’s control, and accordingly, Plaintiff should be afforded
5    “more leeway . . . to make allegations.” Townsend, 929 F.2d at 1364. In light of such leeway, and given
6    that Rule 11 provides an extraordinary remedy, Plaintiff’s inquiry into his factual allegations were more
7    than “reasonable under the circumstances,” and Meta’s motion to strike should be denied. Fed. R. Civ.
8    P. 11(b)(3).
9                                         IV.     CONCLUSION
10          For the foregoing reasons, Plaintiff respectfully requests that the Court deny Meta’s Motion to
11   Dismiss and to Strike. To the extent the Court grants Meta’s Motion, Plaintiff requests dismissal be
12   without prejudice and with leave to amend. See London v. City of Redlands, No. EDCV 17-185, 2017
13   WL 11635006, at *2 (C.D. Cal. May 1, 2017) (“Generally, the Ninth Circuit has a liberal policy
14   favoring amendments and, thus, leave to amend should be freely granted.”); Polich v. Burlington N.,
15   Inc., 942 F.2d 1467, 1472 (9th Cir. 1991) (“Dismissal without leave to amend is improper unless it is
16   clear, upon de novo review, that the complaint could not be saved by any amendment.”).

17
18   DATED: September 12, 2022                              Respectfully submitted,

19                                                          By: /s/Daniel Low

20                                                          Daniel Low, SBN 218387
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23                                                          Attorney for Plaintiff
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1                                    CERTIFICATE OF SERVICE
2           I hereby certify that a true and correct copy of the foregoing was served on all counsel of record

3    by electronic service through the Clerk of the Court’s CM/ECF filing system.

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      DATED: September 12, 2022                             By: /s/Daniel Low
6                                                           Daniel Low
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